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                                                                                          8/28/2023

                                            T HE CITY OF NEW YORK
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                                                                     August 25, 2023

                                                   $SSOLFDWLRQ*5$17('
       VIA E.C.F.
       Honorable Jennifer H. Rearden               6225'(5('
       United States District Court
       Southern District of New York
       500 Pearl Street                            $XJXVW
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       New York, New York 10007

                              Re:    Wright v. City of New York et al.
                                     22-cv-03137 (JHR)

       Your Honor:

                      I am an Assistant Corporation Counsel representing defendants in the referenced
       matter. I write respectfully on behalf of both parties to request an extension of the fact discovery
       deadline from August 25, 2023 to October 9, 2023.

                       The extension is needed so as to allow the parties time to complete depositions,
       which have been delayed, in part, because of an illness suffered by a family member of plaintiff.
       The parties have rescheduled depositions and anticipate completing all fact discovery by the
       proposed new date. The parties further advise that neither side will be conducting expert
       discovery. Since the end date for expert discovery is October 9, 2023, the requested extension
       will not affect any other dates in the Civil Case Management Plan.

                       Accordingly, it is respectfully requested that the Court grant the parties joint
       application to extend the deadline for all fact discovery from August 25, 2023 to October 9, 2023

                      I thank the Court for its consideration of the foregoing

                                                            Respectfully submitted,

                                                            s/ Steve Stavridis
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                                               Steve Stavridis
                                               Senior Counsel
Encl.
cc:   All Counsel of record (via ECF)




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